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                   EXHIBIT A-8
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                                                                2 of 3County Superior Court
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                                                                                       Date: 8/21/2023 2:17 PM
                                                                                          Che Alexander, Clerk


                     IN THE SUPERIOR COURT OF FULTON COUNTY

                                      STATE OF GEORGIA


 STATE OF GEORGIA                               )
                                                )     Case No. 238C188947
V.                                              )
                                                )     Judge: Scott McAfee
 RAY STALLINGS SMITH II                         )


                              CONSENT BOND ORDER FOR
                          DEFENDANT RAY STALLINGS SMITH III

        The above-captioned matter having come before the Court for consideration of bond, and

 with consent of counsel for the State of Georgia and for the Defendant, the Court hereby

 GRANTS and ORDERS that bond is set in this matter as follows:

     (1) Bond Amount:

        Count   1:      Violation of GA RICO Act             $20,000
        Count   2:      Criminal Solicitation                $5,000
        Count   4:      False Statements                     $2,500
        Count   6:      Criminal Solicitation                $2,500
        Count 9:        Criminal Conspiracy                  $2,500
        Count 11:       Criminal Conspiracy                  $2,500
        Count 13:       Criminal Conspiracy                  $2,500
        Count 15:       Criminal Conspiracy                  $2,500
        Count 17:       Criminal Conspiracy                  $2,500
        Count 19:       Criminal Conspiracy                  $2,500
        Count 23:       Criminal Solicitation                $2,500
        Count 25:       False Statements                     $2,500

        TOTAL:          $50,000

        Defendant may post bond as cash, through commercial surety, or through the Fulton
        County Jail 10% program.

     (2) The Defendant shall report to pre-trial supervision every 30 days and may report by
         telephone.
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   (3) The Defendant shall not violate the laws of this State, the laws of any other state, the laws
       of the United States of America, or any other local laws. Ayala v. State, 262 Ga. 704, 705
       (1993).

   (4) The Defendant shall appear in court as directed by the Court. /d.

   (5) The Defendant shall perform no act to intimidate any person known to him or her to be a
       codefendant or witness in this case or to otherwise obstruct the administration of justice.
       Id.

   (6) The Defendant shall not communicate in any way, directly or indirectly, about the facts of
       this case with any person known to him to be a codefendant in this case except through
       his or her counsel.

   (7) The Defendant shall not communicate in any way, directly or indirectly, about the facts of
       this case with any person known to him to be a witness in this case except through his or
       her counsel.
             ;
       It is so ORDERED
                              ;
                            this the
                                       aie
                                        _¢ day of August, 2023,




                                                     Fulton County Superior Court

Consented to by:




  MA) wd
Deputy District Attorney Grant Rood
                                               ea    Don Samuel
                                                                                                       :
Fulton County District Attorney’s Office             Counsel for Defendant
Counsel for the State of Georgia
